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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


PENGCHENG SI, individually and on            Case No.: 1:22-cv-02541-TNM
behalf of all others similarly situated,

                               Plaintiff,
                                             MEMORANDUM OF LAW IN
       v.                                    SUPPORT OF THE MOTION OF
                                             ALLEN GALLEGLY FOR
BED BATH & BEYOND                            APPOINTMENT AS LEAD
CORPORATION, RYAN COHEN, RC                  PLAINTIFF AND APPROVAL OF
VENTURES LLC, and JP MORGAN                  LEAD PLAINTIFF’S SELECTION OF
SECURITIES LLC,                              LEAD COUNSEL

                               Defendants.
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       Putative class member Allen Gallegly (“Gallegly”), by his counsel, respectfully submits

this Memorandum of Law pursuant to the Securities Exchange Act of 1934 (the “Exchange Act”),

15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities Litigation Reform Act of 1995

(the “PSLRA”), for entry of an order: (i) appointing Gallegly as lead plaintiff pursuant to the

PSLRA, 15 U.S.C. § 78u-4(a)(3)(B); (ii) approving Gallegly’s selection of the law firm of Kaplan

Fox & Kilsheimer LLP (“Kaplan Fox”) to serve as Lead Counsel under 15 U.S.C. § 78u-

4(a)(3)(B)(v); and (iii) granting such other and further relief as the Court may deem just and proper.

       Gallegly believes that he has the largest financial interest in the outcome of this litigation

and is thus presumptively entitled to be appointed Lead Plaintiff and that his choice of counsel

should be approved. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(bb).

I.     INTRODUCTION

       This Action brings claims pursuant to Sections 10(b) and 20(a) of the Exchange Act, 15

U.S.C. §§ 78j(b) and 78t(a), and U.S. Securities and Exchange Commission Rule 10b-5

promulgated thereunder, as well as clams under Sections 9(a), 18(a), 20A, and 20(a) of the

Exchange Act, 15 U.S.C. §§ 78i, 78r(a), and 78t-1, seeking to recover compensable damages

caused by Bed Bath & Beyond Corporation (“BBBY” or “Bed Bath”) and the other defendants’

violations of federal securities laws on behalf of all persons who purchased or otherwise acquired

Bed Bath common stock (including those who bought to cover a short position) or Bed Bath call

options, or sold Bed Bath put options, from August 12, 2022 through August 18, 2022, inclusive,

and who were damaged thereby (the “Class Period”) 1.




1
       The initial complaint alleged a class period of March 25, 2022 through August 18, 2022.
An Amended Complaint was filed on November 2, 2022, which shortened the period to the Class
Period. The Amended Complaint also removed Arnal Gustavo as a defendant, removed certain
claims and added others.
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       Pursuant to the PSLRA, this Court must appoint the member or members of the class “most

capable of adequately representing the interests of class members” to serve as lead plaintiff. 15

U.S.C. § 78u-4(a)(3)(B)(i). Gallegly believes that he is the movant with the largest financial

interest that otherwise meets the applicable requirements under Rule 23.

       Gallegly respectfully requests that the Court approve Kaplan Fox as Lead Counsel for the

Class. See § III.C.3., infra; 15 U.S.C. § 78u-4(a)(3)(B)(v) (“the most adequate plaintiff shall,

subject to the approval of the court, select and retain counsel to represent the class”).

II.    SUMMARY OF THE ACTION

       On August 23, 2022, the Action was filed and on September 8, 2022 notice was published

to class members on Accesswire, as required by 15 U.S.C. § 78u-4(a)(3)(A)(i) of the Exchange

Act (the “Notice”). See Declaration of Frederic S. Fox in Support of the Motion of Gallegly for

Appointment as Lead Plaintiff and Approval of Lead Plaintiff’s Selection of Lead Counsel (the

“Fox Decl.”), Ex. A. The Notice advised purchasers of BBBY common stock of the existence of

a lawsuit against Defendants and the nature of Defendants’ statements, omissions and conduct that

allegedly damaged investors. Id. The Notice further advised class members of their right to move

the Court to be appointed Lead Plaintiff by November 7, 2022, 60 days from the publication of the

Notice. Id.

       As alleged in the Action, in March 2022, Defendant Ryan Cohen (“Cohen”), through his

investment firm Defendant RC Ventures LLC (“RC Ventures”), bought nearly a 10% stake in Bed

Bath, which he successfully used to obtain three seats on Bed Bath’s board of directors and a

commitment from the Company to study his proposal to turn around the company by, among other

things, selling or spinning off Bed Bath’s more successful Buy Buy Baby chain. ⁋ 3. Over the

next five months, however, Bed Bath’s stock price plummeted amid a stream of bad news, as the

Company announced record losses, dwindling cash on hand, and soaring debt. Id. By August,


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Bed Bath had also rejected Cohen’s turnaround strategy, electing to seek new loans backed, in

part, by the Buy Buy Baby assets, along with the issuance of millions in new shares of stock that

would dilute Cohen’s holdings. Id. As a result, Cohen’s investment in Bed Bath securities was

underwater by tens of millions of dollars with little prospect of improving anytime soon. Id.

       According to the Action, other investors in Cohen’s position would have chosen between

maintaining their investment or selling at a loss. ⁋ 4. But Cohen instead orchestrated a market

manipulation scheme to artificially inflate the price and trading volume of Bed Bath securities so

that he could secretly sell his holdings at a profit at the expense of Bed Bath’s public investors.

Id.

       According to the Action, to carry out his scheme, Cohen needed to drive up the stock price

and flood the market with trading activity so that he could sell his shares quickly, secretly, and at

a profit. Cohen accomplished that goal by leveraging his loyal following among retail investors,

many of whom closely followed his every public statement, filing, or social-media post to guide

their own investment decisions. ⁋ 5. Since Cohen seized control of GameStop in 2021, many

retail investors who traded in so-called “meme stocks”—like GameStop, AMC, and Bed Bath—

viewed Cohen as their de facto leader, dissecting his public statements on social-media platforms

such as Reddit, Discord, and Twitter. Id. Delivering targeted messages that he knew would appeal

to and resonate with these retail investors, Cohen deceived them into believing that he was holding

onto his investment in Bed Bath and was projecting that the price of Bed Bath’s stock would soar

to as much as $60 to $80 per share—a feat that Bed Bath had not achieved in years. Id. In online

discussion forums, these retail investors amplified Cohen’s misleading statements and further

promoted the value of investing in Bed Bath, despite the near-universal agreement among analysts

that the Company’s stock was worth less than $5 per share. Id.




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       As alleged in the Action, Cohen’s scheme worked perfectly. ⁋ 6. In a matter of days, the

market for Bed Bath securities was flooded with retail investors who bought the Company’s stock

at higher and higher prices, sending Bed Bath’s stock price to an intraday high of $30 on August

17, with the highest daily trading volume in more than a decade. Id. While retail investors bought

Bed Bath’s stock in record numbers, Cohen secretly sold his entire holdings of the Company’s

securities, earning about $178.1 million in proceeds and $58 million in illicit profits from the

scheme. Id.

       According to the Action, more than a day after Cohen had dumped his remaining holdings,

he finally disclosed his sales to the public in a filing with the SEC on August 18, after the markets

had closed. Bed Bath’s stock price plunged on the news, dropping by 45% in after-hours trading.

⁋ 7. Later that day, Bed Bath announced that it had hired a restructuring expert as it pursued its

new turnaround strategy. Id. On August 31, Bed Bath formally announced its new strategic plan

that involved shutting stores, taking on new debt, and issuing millions of new shares of stock. By

mid-October, Bed Bath’s stock price had dropped to under $5 per share. Id. As a result, retail

investors who acquired Bed Bath securities based on Cohen’s manipulative and deceptive acts

have suffered hundreds of millions of dollars in losses. Id.

III.   ARGUMENT

       A.      The PSLRA Standard for Appointing Lead Plaintiff

       The PSLRA sets forth the procedure for the selection of a lead plaintiff in “each private

action arising under [the Exchange Act] that is brought as a plaintiff class action pursuant to the

Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(1). Specifically, within 20 days after the

date on which a class action is filed, the plaintiff or plaintiffs shall cause to be published, in a

widely circulated national business-oriented publication or wire service, a notice advising

members of the purported plaintiff class –


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                (I)     of the pendency of the action, the claims asserted therein, and
                        the purported class period; and
                (II)    that, not later than 60 days after the date on which the notice is
                        published, any member of the purported class may move the
                        court to serve as lead plaintiff of the purported class.

15 U.S.C. § 78u-4(a)(3)(A)(i).

        Further, the PSLRA directs the Court to consider any motions by plaintiffs or purported

class members to serve as Lead Plaintiff in response to any such notice within 90 days after the

date of publication of the notice, or as soon as practicable after the Court decides any pending

motion to consolidate any actions asserting substantially the same claim or claims. 15 U.S.C. §

78u-4(a)(3)(B).

        Under the relevant sections of the Exchange Act, the Court “shall” appoint the “most

adequate plaintiff,” and is to presume that plaintiff is the person which:

                (aa)    has either filed the complaint or made a motion in response to a
                        notice . . .;
                (bb)    in the determination of the court, has the largest financial interest
                        in the relief sought by the class; and
                (cc)    otherwise satisfies the requirements of Rule 23 of the Federal
                        Rules of Civil Procedure.

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

        B.      Gallegly Is the “Most Adequate Plaintiff”

        Gallegly respectfully submits that he is the “most adequate plaintiff” because he has

complied with the PSLRA procedural requirements, holds the largest financial interest of any

movant, and satisfies Rule 23’s typicality and adequacy requirements. In addition, Gallegly has

duly signed and filed a certification stating that he is willing to serve as the representative party on

behalf of the class. See Fox Decl., Ex. B. Finally, Gallegly has selected and retained counsel

experienced in the prosecution of securities class actions to represent the class. See id., Ex. D




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(Kaplan Fox Firm Resume). Accordingly, Gallegly satisfies the PSLRA’s filing requirements for

seeking appointment as lead plaintiff and therefore should be appointed Lead Plaintiff.

               1.      Gallegly Has Satisfied the PSLRA’s Procedural Requirements

       The Action was filed on August 23, 2022 and Notice was published over Accesswire, a

national wire service, on September 8, 2022. See id., Ex. A. Accordingly, the time period in which

class members may move to be appointed lead plaintiff in this case expires on November 7, 2022.

See 15 U.S.C. § 78u-4(a)(3)(A); see also Fed. R. Civ. P. 6(a)(1)(C) (“if the last day [of the period]

is a Saturday, Sunday, or legal holiday, the period continues to run until the end of the next day

that is not a Saturday, Sunday, or legal holiday.”). Pursuant to the PSLRA’s provisions, and within

the requisite time frame after publication of the required notice, Gallegly timely moved this Court

to be appointed lead plaintiff on behalf of all members of the class.

               2.      Gallegly Has the Largest Financial Interest in the Relief Sought by the
                       Class

       Under the relevant sections of the Exchange Act, a rebuttable presumption exists whereby

the plaintiff with the largest financial interest in the litigation and who otherwise satisfies the

requirements of Rule 23 is presumed to be the most adequate plaintiff to lead the action. 15 U.S.C.

§ 78u-4(a)(3)(B)(iii). Here, Gallegly suffered substantial losses of approximately $297,955 in

BBBY securities artificially inflated during the Class Period. See Fox Decl., Exs. B and C.

Gallegly is not aware of any other movant with a larger financial interest and believes he has the

largest financial interest of any lead plaintiff movant.       Therefore, Gallegly believes he is

presumptively entitled to appointment as Lead Plaintiff.

       C.      Gallegly Is Qualified Under Rule 23

       The PSLRA provides that the lead plaintiff must also “otherwise satisf[y] the requirements

of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). Rule



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23(a) provides that a party may serve as a class representative only if the following four

requirements are satisfied:

               (1)       the class is so numerous that joinder of all members is
                         impracticable;
               (2)       there are questions of law or fact common to the class;
               (3)       the claims or defenses of the representative parties are typical of
                         the claims or defenses of the class; and
               (4)       the representative parties will fairly and adequately protect the
                         interests of the class.

Fed. R. Civ. P. 23(a).

       Of the four prerequisites to class certification, only two – typicality and adequacy – directly

address the personal characteristics of the class representatives. See Shenk v. Mallinckrodt PLC,

300 F. Supp. 3d 279, 281 (D.D.C. 2018) (“To satisfy the requirements of Rule 23 of the Federal

Rules of Civil Procedure, a movant seeking to be appointed lead plaintiff need only make a

preliminary showing that it meets the typicality and adequacy requirements.”) (citation omitted).

Consequently, in deciding a motion to serve as lead plaintiff, the Court should limit its inquiry to

the typicality and adequacy prongs of Rule 23(a) and defer examination of the remaining

requirements until the lead plaintiff moves for class certification. As detailed below, Gallegly

satisfies the typicality and adequacy requirements of Rule 23(a), thereby justifying his appointment

as Lead Plaintiff for the Action.

                1.       Gallegly’s Claims Are Typical of the Claims of the Class

       The typicality requirement of Rule 23(a) is generally satisfied “when the plaintiff's claims

arise from the same course of conduct, series of events, or legal theories as the claims of other

class members.” In re XM Satellite Radio Holdings Sec. Litig., 237 F.R.D. 13, 18 (D.D.C. 2006)

(internal citations omitted); see also Shenk, 300 F. Supp. 3d at 282 (“To satisfy the typicality

requirement, a movant's claims need not be identical with the absent class members, but they must

be reasonably coextensive with the class as a whole.”).


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       The claims asserted by Gallegly are based on the same legal theory and arise out of the

same course of events as the other putative class members’ claims. Gallegly purchased BBBY

securities, as did each member of the proposed class, at prices artificially inflated by Defendants’

false and misleading statements and was damaged thereby. Thus, Gallegly satisfies the typicality

requirement of Rule 23(a).

                2.     Gallegly Will Fairly and Adequately Represent the Class’s Interests

       Under Rule 23(a)(4), the representative party must “fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). “In assessing this requirement, courts generally

consider whether a movant has the ability and incentive to represent the claims of the class

vigorously, whether the movant has obtained adequate counsel, and whether there is a conflict of

interest between the movant's claims and those asserted on behalf of the class.” Shenk, 300 F.

Supp. 3d at 282. Here, Gallegly’s interests are clearly aligned with the members of the proposed

class, and there is no evidence of any antagonism between Gallegly’s interests and those of the

class. As detailed above, Gallegly’s claims raise similar questions of law and fact as claims of the

members of the class, and Gallegly’s claims are typical of the members of the class.

       Further, Gallegly has demonstrated his adequacy and willingness to serve as and assume

the responsibilities of a lead plaintiff. See Fox Decl., Ex. B. Having suffered substantial losses,

Gallegly will be a zealous advocate on behalf of the class. In addition, Gallegly has selected

Kaplan Fox – counsel highly experienced in prosecuting securities class actions – to represent him.

See Fox Decl., Ex. D. Thus, the close alignment of interests between Gallegly and other class

members, and Gallegly’s strong desire to prosecute the Action on behalf of the class, provide

ample reason to grant Gallegly’s motion for appointment as Lead Plaintiff in the Action.

Accordingly, Gallegly satisfies the prerequisites for appointment as Lead Plaintiff pursuant to the

Exchange Act.


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               3.      This Court Should Approve Gallegly’s Choice of Counsel

       The Exchange Act vests authority in the lead plaintiff to select and retain lead counsel,

subject only to court approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v); see also In re XM Satellite

Radio Holdings Sec. Litig., 237 F.R.D. at 21. Gallegly has retained Kaplan Fox to file moving

papers on behalf of Gallegly seeking appointment as Lead Plaintiff and to serve as lead counsel to

pursue this litigation on behalf of himself and the class.         Kaplan Fox possesses extensive

experience in the area of securities litigation and for decades has successfully prosecuted numerous

securities class actions on behalf of injured investors. See Fox Decl., Ex. D. Thus, the Court may

be assured that, in the event the instant motion is granted, the members of the class will receive

the highest caliber of legal representation available.

IV.    CONCLUSION

       For all of the foregoing reasons, Gallegly respectfully requests that the Court: (1) appoint

Gallegly as Lead Plaintiff; (2) approve Gallegly’s selection of Kaplan Fox as Lead Counsel; and

(3) grant such other relief as the Court may deem just and proper.

 Dated: November 7, 2022                              Respectfully submitted,
                                                      /s/ Frederic S. Fox
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                                                      and Proposed Lead Counsel for the Proposed
                                                      Class


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                                  CERTIFICATE OF SERVICE

       I, Frederic S. Fox, hereby certify that, on November 7, 2022, I caused the foregoing to be

served on all counsel of record by filing the same with the Court using the CM\ECF system which

will send electronic notices of the filing to all counsel of record.



                                                       /s/ Frederic S. Fox
                                                       Frederic S. Fox




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